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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 CHARLOTTE E. NICHOLAS,

       Plaintiff,

 v.

 SYNDICATED OFFICE SYSTEMS, INC.,
 d/b/a CENTRAL FINANCIAL CONTROL,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, CHARLOTTE E. NICHOLAS, is a natural person, and

 citizen of the State of Florida, residing in Broward County, Florida.
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        4.    Defendant, SYNDICATED OFFICE SYSTEMS, INC., d/b/a

 CENTRAL FINANCIAL CONTROL, is a corporation and citizen of the State of

 Texas with its principal place of business at Suite 100, 13737 Noel Road, Dallas,

 Texas 75240.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for Plaintiff’s medical care.

        10.   Defendant left the following messages on Plaintiff’s voice mail on or

 about the dates stated:

        March 4, 2008 – Pre-Recorded Message
        This message requesting a return call is from Central Financial Control.
        Please call our office today at 1-800-345-4261 as soon as possible. Our first
        available representative will speak with you. Thank you.

        June 11, 2008 – Pre-Recorded Message




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       Please return this phone call today from Central Financial Control at 1-800-
       345-4261 as soon as possible. Our first available representative will speak
       with you.

       March 6, 2009 – Pre-Recorded Message
       This is a message from Central Financial Control. Please call us at 1-800-
       345-4261 so that we can speak with you regarding this personal business
       matter. Thank you.

       April 23, 2009 – Pre-Recorded Message
       This is a message from Central Financial Control, please call us at 1-800-
       345-4261 so that we can speak with you regarding this personal business
       matter. Thank You.

       May 14, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Charlotte Nicholas
       regarding a personal business matter. Please call 800-345-4261 between the
       hours of 8:00 AM and 5:00 PM Monday through Friday. Once again, the
       number to call is 800-345-4261. Thank you.

       July 28, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Charlotte Nicholas
       regarding a personal business matter. Please call 800-345-4261 between the
       hours of 8:00 AM and 5:00 PM Monday through Friday. Once again, the
       number to call is 800-345-4261. Thank you.

       October 16, 2009 – Pre-Recorded Message
       This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
       please hang up or disconnect. If you are Charlotte Nicholas, please continue
       to listen to this message. There will now be a 3 second pause in this
       message. By continuing to listen to this message, you acknowledge you are
       Charlotte Nicholas. Charlotte Nicholas, you should not listen to this message
       so that other people can hear it, as it contains personal and private
       information. There will now be a 3 second pause in this message to allow
       you to listen to this message in private. This is a message from Central
       Financial Control. This communication is from a debt collector. This is an
       attempt to collect a debt and any information obtained will be used for that
       purpose. Please contact us about a business matter at 800-345-4261. Thank
       you.



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       Between December 23, 2009 and January 25, 2010 – Pre-Recorded Message
       This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
       please hang up or disconnect. If you are Charlotte Nicholas, please continue
       to listen to this message. There will now be a 3 second pause in this
       message. By continuing to listen to this message, you acknowledge you are
       Charlotte Nicholas. You should not listen to this message so that other
       people can hear it, as it contains personal and private information. There will
       now be a 3 second pause in this message to allow you to listen to this
       message in private. This is a message from Central Financial Control. This
       communication is from a debt collector. This is an attempt to collect a debt
       and any information obtained will be used for that purpose. Please contact us
       about a business matter at 800-345-4261. Thank you.

       April 27, 2010 – Pre-Recorded Message
       This is a message for Charlotte Nicholas. If you are not Charlotte Nicholas,
       please hang up or disconnect. If you are Charlotte Nicholas, please continue
       to listen to this message. There will now be a 3 second pause in this
       message. By continuing to listen to this message, you acknowledge you are
       Charlotte Nicholas. You should not listen to this message so that other
       people can hear it, as it contains personal and private information. There will
       now be a 3 second pause in this message to allow you to listen to this
       message in private. This is a message from Central Financial Control. This
       communication is from a debt collector. This is an attempt to collect a debt
       and any information obtained will be used for that purpose. Please contact us
       about a business matter at 800-345-4261. Thank you.

       11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

       12.   The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).




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       13.    Defendant failed to inform Plaintiff in some of the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages.

       14.    Defendant knew it was required to communicate its status as a debt

 collector and the purpose of its call in telephone messages to Plaintiff.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       15.    Plaintiff incorporates Paragraphs 1 through 14.

       16.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       17.    Plaintiff incorporates Paragraphs 1 through 14.



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       18.     Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose the purpose of

 Defendant’s communication in the telephone messages in violation of 15 U.S.C

 §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-61381-Civ-

 Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September 23, 2008);

 Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982);

 and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       19.     Plaintiff incorporates Paragraphs 1 through 14.

       20.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

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              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT IV
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       21.    Plaintiff incorporates Paragraphs 1 through 14.

       22.    Defendant asserted the right to collect a debt by leaving telephone

 messages for Plaintiff without disclosing that it is a debt collector and the purpose

 of its communications when Defendant knew it did not have a legal right to use

 such collection techniques in violation of Fla. Stat. §559.72(9).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                          COUNT V
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT


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       23.    Plaintiff incorporates Paragraphs 1 through 14.

       24.    By failing to disclose that it is a debt collector and the purpose of its

 communication, and by telephoning Plaintiff with such frequency as can be

 reasonably be expected to harass, Defendant willfully engaged in conduct the

 natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

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